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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

PHYTO TECH CORP. d/b/a BLUE CALIFORNIA,
Plaintiff, Civil Action No.
1:19-cv-09033-JGK
v.

GIVAUDAN SA,

Defendant.

 

 

PR SED] ORDER APPROVING LIQUIDATING TRUSTEE’S FINAL REPORT
AND GRANTING MOTION FOR APPROVAL OF THE TRUSTEE’S PROPOSED
WIND UP AND DISSOLUTION OF BGN TECH, LLC

This matter coming before the Court on the Liguidating Trustee’s Final Report (the
“Final Report”) and Motion for Approval of the Trustee's Proposed Wind Up and Dissolution of
BGN Tech, LLC (“the “Motion”), | seeking approval of the Trustee’s Final Report and the
Trustee’s proposed wind up and dissolution of BGN; and the Court having reviewed and
considered the Final Report and the Motion; and after due deliberation thereon; and good and
sufficient cause appearing therefor, it is:

HEREBY ORDERED, ADJUDGED AND DECREED THAT:

L. The Final Report is APPROVED.

2. The Motion is GRANTED as set forth herein.

3, The Trustee’s proposed wind down and dissolution of BGN as described in the

Final Report and Motion, including, without limitation, with respect to the (i) the proposed

distribution of the Liquid Assets, (ii) the Distribution Agreement, and (iii) the Post-Dissolution

 

} Capitalized terms not otherwise defined herein shall have the meaning ascribed to themin the Motion.

 

 

 

 
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License Agreement, are hereby approved in their entirety. The Trustee may make non-
substantive and conforming revisions to, or any revisions agreed upon between the Members, as
necessary or desirable to finalize the foregoing.

4. Effective immediately upon the entry of this Order, the Trustee and all of his
professionals are relieved and discharged from any further obligations with respect to the
properties, assets, or liabilities of BGN; provided that the Trustee may continue to take any
administrative actions necessary to complete any tasks necessary to the wind-down, including,
without fimitation, the preparation and filing of any final tax returns.

5 The Trustee shall be fully and forever released and discharged from any and all
liability as Trustee of BGN. Such release and discharge shall include, without limitation, any
and all claims, cross-claims, counterclaims, causes, damages and actions of every kind and
character, and all suits, costs, damages, expenses, compensation and liabilities of every kind,
character and description, whether direct or indirect, known or unknown, disclosed or hidden, in
law or in equity, which anyone has or will have against the Trustee, Sherwood Partners, Inc.,
and/or any of their respective agents, representatives, officers, attorneys, professionals,
employees or contractors, on account of, or arising, or resulting from, or in any manner
incidental to, this proceeding, the assets of BGN, the Trustee’s administration of the liquidation

estate, and/or any acts or omissions of the Trustee.

DATED: ie / 2 / 2022
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HONORABLE JOHN G. KOELTL
UNITED STATES DISTRICT JUDGE

 

 

 
